Case 23-11160-MFW   Doc 17-3   Filed 08/21/23   Page 1 of 3




                      Exhibit C
          Mr Martin’s email to Mr Masters
                      Case 23-11160-MFW              Doc 17-3   Filed 08/21/23      Page 2 of 3




From:                             Martin, Craig <craig.martin@us.dlapiper.com>
Sent:                             Wednesday, August 16, 2023 5:24 PM
To:                               kyle.masters@careyolsen.com
Cc:                               Hannah Tildesley
Subject:                          [EXTERNAL] In re Vesttoo Ltd., Case No. 23-11160-MFW
Attachments:                      Vesttoo - Stay Violation Letter to QE and White Rock.pdf


This Message originated outside your organization.


Dear Mr. Masters,

I understand from Ms. Tildesley that you may be acting for White Rock Insurance (SAC) Ltd. in
connection with a court listing this Friday in Bermuda. I further understand that your client’s
position is that the listed matter is confidential and that you are thus not able to speak with us
about the listed hearing on this Friday, August 18, 2023.

While we understand your position of confidentiality, we do wish to inform you, as proposed
counsel to the Chapter 11 Debtors that Vesttoo Ltd. and its subsidiaries, including each of the
various Vesttoo Bay [__], Ltd. partnerships, many of which we understand may have entered
into Participating Shareholder, Subscription, or other agreements related to various
Segregated Cells with White Rock, filed Chapter 11 Petitions on August 14 and August 15,
20023 in the United States Bankruptcy Court for the District of Delaware. As such, the Chapter
11 Debtors have an interest in the segregated cells associated with the Vesttoo Bay
partnerships and any relief granted by a Bermuda Court with respect to them may have
implications in the Chapter 11 cases.

I would thus request that to the extent relevant, especially in the context of an ex parte and
confidential hearing, that you inform the Bermudian court of the fact of Vesttoo is under the
protection of Chapter 11 in the United States. While we would also ask that if the hearing is
confidential that you inform the Court that Vesttoo would be willing to participate in any
hearing, should the Bermudian Court make any rulings, findings, or enter any orders that
purport to impact the Chapter 11 Debtors’ interests, including the interests in any of the
segregated cells, I further request that you advise me of those. Also, for your file and record,
when White Rock continued to press rights in the courts in New York yesterday after the
chapter 11 cases were commenced, we were compelled to send its US counsel the attached
correspondence. I provide you a copy of this letter for your file and your convenient
reference.

I do recall our conversation at the event in Bermuda just before the INSOL conference back in
June and would of course be willing to have a discussion to see if there might be a way to work
                                                           1
                          Case 23-11160-MFW                  Doc 17-3        Filed 08/21/23          Page 3 of 3

together collaboratively to ensure the issues that Vesttoo and White Rock are facing can be
managed in an efficient way. Thus, please feel free to reach out to me by telephone if you
have any questions regarding the content of this communication or the Chapter 11 cases or if
you think any item in this letter requires further discussion.

Many kind Regards,

Craig

R. Craig Martin
Partner

T +1 302 468 5655
F +1 302 778 7834
M +1 267 975 7962
craig.martin@us.dlapiper.com

DLA Piper LLP (US)
dlapiper.com




The information contained in this email may be confidential and/or legally privileged. It has been sent for the sole use of the intended
recipient(s). If the reader of this message is not an intended recipient, you are hereby notified that any unauthorized review, use, disclosure,
dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. If you have received this
communication in error, please reply to the sender and destroy all copies of the message. To contact us directly, send to
postmaster@dlapiper.com. Thank you.




                                                                        2
